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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 SAM BOWEN,                                        )
                                                   )
                                Plaintiff,         )
                                                   )
                v.                                 ) CASE NO. 1:23-cv-1118-RLY-TAB
                                                   )
 JAMES ISON, et al.,                               )
                                                   )
                                Defendants.        )

               PLAINTIFF'S PRELIMINARY WITNESS AND EXHIBIT LIST

        Plaintiff Sam Bowen, by counsel, pursuant to the Case Management Plan approved by the

 Court, respectfully provides the following list of individuals who may be called as witnesses to give

 testimony in this cause, and the following list of documents which Plaintiff anticipates may be

 introduced into evidence as exhibits in this case. Plaintiff reserves the right to correct, clarify,

 supplement, or otherwise amend these lists for any appropriate reason.

                                     Preliminary Witness List

        1.      Sam Bowen, Plaintiff. May be contacted only through counsel. Areas of knowledge:
                His social media activity prior to May 2, 2023; the discipline imposed on him by
                Defendant Ison; Ison’s retaliation; his damages.

        2.      John McAtee, GPD Officer. Areas of knowledge: His social media activity prior
                to May 2, 2023; discipline imposed by Defendant Ison.

        3.      Chief James Ison. Areas of knowledge: Plaintiff’s social media prior to May 2, 2023;
                his decision to discipline Plaintiff for those social media posts; his actions following
                the filing of Plaintiff’s lawsuit; Plaintiff’s internal complaint regarding discipline;
                GPD social media policies; the First Amendment.

        4.      Asst. Chief Matt Fillenwarth. Areas of knowledge: Defendant Ison’s disciplinary
                actions against Plaintiff on May 2, 2023; Plaintiff’s internal complaint regarding
                discipline; GPD social media policies; the First Amendment.

        5.      Mayor Mark Meyers. Areas of knowledge: His communications with Defendant Ison
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                concerning negative social media post by GPD officers prior to May 2, 2023; s
                communications with Defendant Ison concerning disciplinary actions against GPD
                officers posting negative information prior to May 2, 2023; his communications with
                the Plaintiff following May 2, 2023; Plaintiff’s internal complaint regarding
                discipline; the First Amendment.

        6.      Any GPD officer or employee who was involved in any investigation resulting from
                Plaintiff’s internal complaint, or who provided Defendant information concerning the
                facts and circumstances which lead to Plaintiff’s Complaint.

        7.      Any person mentioned in any report concerning the facts and circumstances which
                led to, or which were the basis of, Plaintiff’s Complaint.

        8.      Individuals with knowledge of Plaintiff’s damages.

        9.      Any individual similarly situated to Plaintiff and/or any individual who replaced
                Plaintiff or assumed any or all of Plaintiff's job duties;

        10.     Individuals identified in any witness list filed by Defendant;

        11.     Individuals identified through further investigation or discovery;

        12.     Any witness necessary to lay the foundation for any exhibit;

        13.     Any witness necessary to impeach the testimony of another witness; and

        14.     Any witness necessary to rebut the evidence offered by the Defendants' witnesses.

        Plaintiff reserves the right to correct, clarify, supplement or otherwise amend the foregoing

 list of individuals with potentially discoverable information as discovery progresses.
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                                      Preliminary Exhibit List

        1.      All documents provided or made available for Plaintiff’s hearing before the
                Greenwood Police Merit Commission.

        2.      Transcript of the Merit Commission hearing.

        3.      Documents identified by Defendant in exhibit lists.

        4.      Documents produced during discovery.

        5.      Documents used during depositions in this matter.

        6.      Any document identified through further investigation or discovery.

          Plaintiff reserves the right to correct, clarify, supplement or otherwise amend the foregoing
 list of potential exhibits as discovery progresses.

                                                       Respectfully submitted,

                                                         s/ Jay Meisenhelder
                                                       Jay Meisenhelder, Atty No. 19996-49
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                                  CERTIFICATE OF SERVICE

         I certify that on November 30, 2023, the foregoing was filed electronically. Copies will be
 sent to all counsel of record by operation of the Court’s CM/ECF system.

                                                         s/ Jay Meisenhelder
